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   7
   8                       UNITED STATES DISTRICT COURT

   9                      CENTRAL DISTRICT OF CALIFORNIA

 10
 11 LATANYA WILLIAMS,                              Case No.: 5:23-cv-02535-SSS-SHKx

 12                                                NOTICE OF SETTLEMENT OF
                   Plaintiff,                      ENTIRE CASE
 13
            vs.
 14
 15 BENITEZ RESTAURANTS, INC.;
    MOUNTAIN BENITEZ FAMILY
 16 LLC; and DOES 1 to 10,
 17
              Defendants.
 18
 19         Notice is hereby given that Plaintiff LATANYA WILLIAMS ("Plaintiff") and
 20 Defendants have settled the above-captioned matter as to the entire case. Parties
 21 request that the Court grant thirty (30) days from the date of this filing for Plaintiff
 22 to file dispositional documents in order to afford Parties time to complete settlement.
 23
     DATED: April 17, 2024                       SO. CAL EQUAL ACCESS GROUP
 24
 25
 26                                                      /s/ Jason J. Kim
 27                                                JASON J. KIM
                                                   Attorney for Plaintiff
 28

                                                          NOTICE OF SETTLEMENT OF ENTIRE CASE
